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December 15, 2023 4
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CLERK OF COURT -d
United States District Court a

District of South Carolina
Charleston Division

P.O, Box 835

Charleston, SC 29402

RE: Jay Connor v. John Does 1 — 10

Case No, 2:23-cv-1452-JD-MGB

Letter Motion for Issuance of Subpoena and Case Status
Dear Clerk:

Pursuant to Federal Rules of Civil Procedure 45(a)(3), and with permission from the
court, [ am requesting the clerk issue the attached subpoena to Jason Lavoie. The subpoena
(Exhibit A) seeks a deposition with Mr. Lavoie to clarify and supplement his response to the
previous court-approved subpoena issued to him for documents.

In his response to the previous subpoena, Mr. Lavoie acknowledged an important role
regarding assertions made in the Amended Complaint. He responded that he was involved with
the return address at 1500 Weston Road #200-16, Weston, FL 33326, and described the location
as a return “hub” for packages, which would have included the covid testing kit shipment.
(Exhibit B) However, he indicated that a different company from Illinois shipped the kits, not the
company in his return address, and Mr. Lavoie has not provided further information about this

company. !

' Plaintiff attempted unsuccessfully to resolve this issue with Mr. Lavoie prior to filing a request for a deposition
subpoena.
Mr. Lavoie has knowledge of, is in possession of, or has access to relevant information
regarding the names of the company(s) authorized to use his address, 1500 Weston Road,
Weston Florida, as a return shipping hub, and use his address as a return address for shipping
labels. Those anonymous companies received information and direction from the telemarketing
companies. More importantly, through a short deposition specific to questions surrounding this
case, he can provide testimony, information via correspondence and agreements that may reveal
the names of John Does responsible for the calls alleged in the Amended Complaint. Thank you

in advance for your consideration,

Respectfully Submitted,
Q). (i
Jay donner
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